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                       UNITED STATES DISTRICT COURT
                        MIDDLE DISTRICT OF FLORIDA
                          JACKSONVILLE DIVISION

    UNITED STATES OF AMERICA

    vs.                                        CASE NO. 3:23-cr-122-MMH-MCR

    NEAL BRIJ SIDHWANEY


                       REPORT AND RECOMMENDATION
                        CONCERNING PLEA OF GUILTY

          The defendant, by consent, has appeared before me pursuant to Rule 11,

    Fed. R. Crim. P. and Rule 1.02, M. D. Fla. Rules, and has entered a plea of

    guilty to Count One of the Indictment. After cautioning and examining the

    defendant under oath concerning each of the subjects mentioned in Rule 11, I

    determined that the guilty plea was knowledgeable and voluntary, and that

    the offense charged is supported by an independent basis in fact containing

    each of the essential elements of such offense. I therefore recommend that the

    plea of guilty be accepted and that the defendant be adjudged guilty and have

    sentence imposed accordingly. The parties agreed to waive the fourteen (14)

    day period to object to this Report and Recommendation.

          DONE and ORDERED in Jacksonville, Florida on this 15th day of

    December, 2023.
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    Copies furnished to:
    Counsel of Record




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